       Case 19-16576-mdc          Doc 210 Filed 01/04/22 Entered 01/04/22 13:38:10                    Desc
                                     Notice of Hearing Page 1 of 1


                     UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF PENNSYLVANIA

In Re: Brittany Ebson
         Debtor(s)                                   Case No: 19−16576−mdc
                                                     Chapter: 13


                              NOTICE OF HEARING

                          To the debtor, the debtor's counsel, and any party in interest:

                    NOTICE is hereby given that a hearing will be held before the Honorable
                     Magdeline D. Coleman , United States Bankruptcy Judge to consider:

                        **RESCHEDULED FOR TIRAL **
                        Motion for Relief from Stay . Filed by Devon Moore Represented
                        by DEMETRIUS J. PARRISH

                                on: 1/18/22

                                at: 12:30 PM

                                in:


                                                                                 For The Court
Date: 1/4/22                                                                     Timothy B. McGrath
                                                                                 Clerk of Court




                                                                                                             210 − 203
                                                                                                             Form 167
